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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR: Plaintiff Christina Abolos


                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
CHRISTINA ABOLOS, an individual                                               CASE NUMBER:


                                                                               2:19-cv-03069 DSF KS
                                                              Plaintiff(s),
                                    v.

JOHNSON & JOHNSON, et al.                                                                    CERTIFICATION AND NOTICE
                                                                                              OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:     THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Plaintiff Christina Abolos
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                              PARTY                                                   CONNECTION / INTEREST
Christina Abolos                                                        Plaintiff
Johnson & Johnson                                                       Defendant
Johnson & Johnson Consumer Companies, Inc.                              Defendant
Robinson Calcagnie, Inc.                                                Attorneys for Plaintiff
Shook Hardy and Bacon LLP                                               Attorneys for Defendant
Tucker Ellis LLP                                                        Attorneys for Defendant




         May 3, 2019                                      /s/ Mark P. Robinson, Jr.
         Date                                            Signature


                                                         Attorney of record for (or name of party appearing in pro per):

                                                         Plaintiff Christina Abolos

CV-30 (05/13)                                         NOTICE OF INTERESTED PARTIES                                                    CCDCV30
